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12
                              UNITED STATES DISTRICT COURT
13                          NORTHERN DISTRICT OF CALIFORNIA
14
     DANIEL VALENTI, Individually and On Behalf of
15   All Others Similarly Situated,
                                                        Case No.: 3:21-cv-06118-JD
16                         Plaintiffs,
                                                        Hon. James Donato
17                 v.
                                                        NOTICE OF CHANGE OF FIRM
18   DFINITY USA RESEARCH LLC, DFINITY                  NAME
     FOUNDATION, and DOMINIC WILLIAMS,
19
                           Defendants.
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                                   NOTICE OF CHANGE OF FIRM NAME
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 1                           NOTICE OF CHANGE OF FIRM NAME
 2

 3 TO THE CLERK OF COURT AND ALL PARTIES OF RECORD:

 4         PLEASE TAKE NOTICE that the law firm of Selendy Gay Elsberg PLLC has changed its

 5 name to Selendy Gay PLLC, effective immediately. The office address, telephone and facsimile

 6 numbers, and e-mail addresses remain the same. Please update your records to reflect this change.

 7 Executed on: February 7, 2024
                New York, New York
 8
                                                By: /s/ Jordan A. Goldstein
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